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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    TIFFANY GRAYS,                                Case No. 1:20-cv-00452-SKC-GPG
                                Plaintiff,
    v.                                            JURY TRIAL DEMANDED

    NAVIENT CORP., et al.
                                Defendants.

                         ANSWER AND AFFIRMATIVE DEFENSES

          For its Answer and Affirmative Defenses to Plaintiff’s Second Amended Com-

   plaint at ECF 59, Defendant Innovis Data Solutions, Inc. (“Innovis”) pleads as follows:

          1.     COMES NOW, Tiffany Grays, pro se, (“Plaintiff” or “she” or “her”) makes

   claims against Defendants: Equifax Inc. d/b/a/ Equifax Information Services LLC.

   (“Equifax”), Experian Information Solutions, Inc. (“Experian”), Trans Union LLC.

   (“TransUnion”), and Innovis Data Solutions, Inc. (“Innovis”), (collectively “CRA’s”) Na-

   vient Solutions, Inc., (“Navient”) (collectively “Defendants”) for violations of inter alia

   the Fair Credit Reporting Act (FCRA), 15 U.S.C. §§ 1681 et seq., and its implementing

   regulation, Regulation V, 12 C.F.R. part 1022; thus Defendants have participated in unfair,

   unconscionable conduct, improperly reporting mathematically impossible late payments

   since 2014 on each of the Plaintiff’s eighteen accounts; severely impacting her credit score,

   creditworthiness. Defendants profit by forcing the Plaintiff to pay for a loan which was

   not hers; increasing the amount due to Defendants, not only in the actual loan amount,

   but the interest accrued, fees which are induced by Defendants. This obscurity in report-

   ing has allowed Navient to engorge on these illicit profits. Navient’s actions are uncon-

   scionable, unfair, misleading, deceptive, a breach of duty to good faith and fair dealing;
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   constitute unjust enrichment and conversion through fraudulent and/or negligent mis-

   representations; all violations of Colorado and Federal Statues; causing multiple injuries

   to the Plaintiff; including inter alia, consumer credit score damage, mental and emotional

   distress, physical injuries, and financial losses. This Second Amended Complaint relates

   back to the original and Amended Complaints.

          RESPONSE:             Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          2.       Plaintiff re-alleges the preceding paragraphs set forth above and incorpo-

   rate them herein by reference inter alia:

          RESPONSE:             Innovis admits that Plaintiff has incorporated the allegations

   in other paragraphs by reference. Innovis incorporates its responses to those paragraphs

   by reference.

          3.       Pro se Plaintiff, Ms. Tiffany Grays, an individual consumer with a consumer

   credit report and over the age of 18; a Colorado Native who resides in Colorado. Plaintiff

   conducted all business transactions with the Defendants in Colorado. Navient is the ser-

   vicer for all of Plaintiff’s education loans. Unbeknownst to Plaintiff, the actions of Navient

   severely reduced her credit score and creditworthiness as alleged herein, causing and/or

   significantly contributed to the Plaintiff deciding to file bankruptcy in 2015. Additionally,

   Plaintiff set out 2018 with a goal of purchasing a home within the year. The Plaintiff en-

   rolled in an expensive credit repair program, to assist in accomplishing this goal. The

   Plaintiff made a concerted effort to improve her credit as the 2018 goal was to purchase

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   the home; Defendants’ conduct has prevented the Plaintiff from succeeding in this goal.

   Plaintiff notified all Defendants of the egregious errs [sic] alleged, all have failed to make

   required corrections.

          RESPONSE:            Innovis admits that Plaintiff is an individual consumer. Inno-

   vis denies the remaining allegations that are directed against it. Innovis lacks knowledge

   or information sufficient to form a belief about the truth of the remaining allegations.

          4.     Defendant Navient Solutions, Inc., formerly known as Sallie Mae, Inc., a

   wholly-owned subsidiary of Navient Corporation, a Delaware corporation, located at

   13865 Sunrise Valley Drive, Herndon, VA 20171, is the largest student loan servicer in the

   United States. Navient services the loans of more than 12 million borrowers. As a servicer

   of student loans, Navient’s primary responsibilities include managing borrowers’ ac-

   counts, collecting and processing monthly payments. Navient, a Furnisher to Consumer

   Reporting Agencies must at all times comply with State and Federal Laws, and at all times

   relevant, Navient has been located and conducted business in this district.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          5.     [OMITTED BY PLAINTIFF]

          6.     Defendant Equifax Inc. is a consumer reporting agency located 1550

   Peachtree Street, NW, H46, ATLANTA, GA 30309. At all times material to this complaint,

   Equifax Inc has been located and transacted business in this district. Equifax is a CRA

   and must at all times comply with duties to CRA’s outlined by law. Equifax failed the



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   Plaintiff in by not removing the derogatory information upon notification; failing to make

   reasonable investigation as the issue is clear; mathematically impossible.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          7.     Defendant Experian Information Solutions, Inc., (“Experian”) a foreign cor-

   poration and consumer reporting agency located 475 Anton Boulevard, Costa Mesa, CA

   92626. At all times material to this complaint, Experian has been located and transacted

   business in this district. Experian is a CRA and must at all times comply with duties to

   CRA’s outlined by law. Experian failed the Plaintiff in by not removing the derogatory

   information upon notification; failing to make reasonable investigation as the issue is

   clear; mathematically impossible.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          8.     Defendant Trans Union, LLC., (“Union”) a foreign limited liability com-

   pany and a consumer reporting agency located 555 W. Adams St, Chicago, IL 60661. At

   all times material to this complaint. Union has been located and transacted business in

   this district. Union is a CRA and must at all times comply with duties to CRA’s outlined

   by law. Union failed the Plaintiff in by not removing the derogatory information upon

   notification; failing to make reasonable investigation as the issue is clear; mathematically

   impossible.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

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           9.    Defendant Innovis Data Solutions, Inc., (“Innovis”) is a foreign corporation

   and consumer reporting agency located 250 E Broad St, 18th Flr, Columbus, OH 43215.

   At all times material to this complaint, Innovis has been located and transacted business

   in this district. Innovis is a CRA and must at all times comply with duties to CRA’s out-

   lined by law. Innovis failed the Plaintiff in by not removing the derogatory information

   upon notification; failing to make reasonable investigation as the issue is clear; mathe-

   matically impossible.

           RESPONSE:           Innovis admits that it is a foreign (non-Colorado) corporation.

   Innovis admits that its headquarters are at 250 East Broad Street, Columbus, Ohio 43215.

   Innovis admits that it acted as a “consumer reporting agency,” as that term is defined at

   15 U.S.C. § 1681a(f), with respect to Plaintiff’s May 8, 2018 request for a consumer disclo-

   sure and Plaintiff’s December 11, 2019 dispute to Innovis.com, such that it was required

   to comply with the Fair Credit Reporting Act (“FCRA”) at 15 U.S.C. § 1681 et seq. regard-

   ing Plaintiff’s request and Plaintiff’s dispute. Innovis denies the remaining allegations.

           10.   At all relevant times Plaintiff’s accounts were considered in forbearance,

   deferment, and/or had current payments.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           11.   Plaintiff required student loans to begin her post-secondary education in

   2001.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

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           12.   Navient f/k/a Sallie Mae, began servicing Plaintiff’s education loans in

   2001.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           13.   Plaintiff consolidated her student loans twice with Navient, once on or

   about 08/11/2016.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           14.   In 2014, Navient began reporting to credit bureaus Equifax, Experian, Trans

   Union, and Innovis that Plaintiff was “90,” “150,” “90,” and “120,” days late (collectively

   “Late Payments”) in the months of April, May, October, and November 2014, respec-

   tively. The month immediately preceding these Late Payments, Navient reported Plain-

   tiff’s payments were on time or ‘OK.’

           RESPONSE:           Innovis admits only that it keeps a “file” of information that

   Navient and other sources furnish to it; that Plaintiff requested and received a consumer

   disclosure (showing the information in her “file”) on May 8, 2018; that Plaintiff disputed

   the information in her “file” on December 11, 2019; and that Innovis reinvestigated her

   dispute and then responded on December 28, 2019. True and correct copies of the con-

   sumer disclosure and the dispute response are attached as Exhibit 1 and Exhibit 2. Inno-

   vis admits only that Exhibits 1 and 2 show what Navient reported to Innovis about Plain-

   tiff. Innovis denies the allegations in Paragraph 14 to the extent that they contradict the



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   information in Exhibits 1 and 2. Innovis lacks knowledge or information sufficient to

   form a belief about the truth of the remaining allegations.

          15.     These Late Payments were reported on each of the Plaintiff’s twenty-one

   different accounts with Navient, to all Credit Bureaus.

          RESPONSE:             Innovis admits only that Exhibits 1 and 2 show what Navient

   reported to Innovis about Plaintiff. Innovis denies the allegations in Paragraph 15 to the

   extent that they contradict the information in Exhibits 1 and 2. Innovis lacks knowledge

   or information sufficient to form a belief about the truth of the remaining allegations.

          16.     These Late Payments are magnanimously derogatory to the Plaintiff’s cre-

   ditworthiness, in both the prolonged late period reported and this being reported on each

   of the eighteen Navient accounts showing on Plaintiff’s consumer report.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations.

          17.     Over the course of the past six years since these impossible Late Payments

   have been reported, Plaintiff has been denied numerous extensions of credit for reasons

   stated to be inter alia, number of accounts with derogatory information and/or numer-

   osity of severe late payments.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations.

          18.     Plaintiff has been denied auto loans, retail credit cards, credit cards, apart-

   ments, and jobs due to Defendants unwillingness to report true and correct information

   for the Plaintiff.

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          RESPONSE:                Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations.

          19.        Plaintiff has been forced to pay higher interest rates as a direct consequence

   of Defendants incorrect reporting, costing the Plaintiff thousands in interest paid over the

   last six years.

          RESPONSE:                Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations.

          20.        Unfortunately, the bankruptcy meant to give the Plaintiff a clean slate, was

   hindered in doing so, as the Plaintiff’s student loans were not forgiven in the bankruptcy;

   causing additional detrimental impact to the Plaintiff’s creditworthiness.

          RESPONSE:                Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations.

          21.        According to Equifax,

          [SCREEN SHOT OMITTED]

          https://blog.equifax.com/credit/can-one-late-payment-affect-my-credit-score/

          RESPONSE:                Innovis lacks knowledge or information sufficient to form a

   belief as to the truth of these allegations. By way of further response, Innovis states that

   it never created a credit score about Plaintiff, and that Innovis’s information about Plain-

   tiff was never used in creating a FICO score.

          22.        The Late Payments are evidently erroneous, as it is mathematically impos-

   sible to have been reported as being ‘OK’ or ‘Current’ in March 2014, then 30 days later

   be 90 days late in April 2014.

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          RESPONSE:              Innovis states that a true and correct copy of the Consumer

   Data Industry Association’s Credit Resource Guide, Section 12 (Student Loan Reporting)

   is attached at Exhibit 3. Innovis denies the allegations in Paragraph 22 because they are

   inconsistent with the CDIA’s guidance that student loan accounts should be reported as

   open accounts in good standing “until the loan is at least 60 or 90 days past the due date.”

   See Exhibit 3 at 4.

          23.     The same is true for May 2014. It is mathematically impossible to have been

   reported as being 90 days late in April 2014, then 30 days later be 150 days late in May; a

   60-day increase in 30 days.

          RESPONSE:              Innovis denies the allegations in Paragraph 23 because they

   are inconsistent with the CDIA’s guidance that student loans account should be reported

   as open accounts in good standing “until the loan is at least 60 or 90 days past the due

   date.” See Exhibit 3 at 4. By way of further response, Innovis states that it is not “mathe-

   matically impossible” for an account to be reported as 90 days late in a month with 30

   days (Month A), and 150 days late in a subsequent month with 31 days (Month B). If a

   furnisher informs a consumer reporting agency that a consumer was 90-119 days late in

   Month A, the consumer’s “file” will summarize that information by stating that the con-

   sumer was 90 days late in Month A. If a furnisher informs a consumer reporting agency

   that a consumer was 119 days late on the 30th day of Month A, and then informs the

   agency that the consumer was 150 days late on the 31st day of Month B (because 119 days

   +31 days= 150 days), the consumer’s “file” would summarize that information by stating

   that the consumer was 90 days late in Month A and 150 days late in Month B.

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          24.    The same is true for October 2014. It is mathematically impossible to have

   been reported as being ‘OK’ or ‘Current’ in September 2014, then 30 days later be 90 days

   late in October 2014.

          RESPONSE:             Innovis denies the allegations in Paragraph 24 because they

   are inconsistent with the CDIA’s guidance that student loan accounts should be reported

   as open accounts in good standing “until the loan is at least 60 or 90 days past the due

   date.” See Exhibit 3 at 4.

          25.    While the mathematical calculations appear to be correct between the

   months of October 2014 and November 2014, November should not be noted as 120 days

   late if September was reported OK’ or ‘Current.’

          RESPONSE:             Innovis denies the allegations in Paragraph 25 because they

   are inconsistent with the CDIA’s guidance that student loan accounts should be reported

   as open accounts in good standing “until the loan is at least 60 or 90 days past the due

   date.” See Exhibit 3 at 4.

          26.    These evidently erroneous calculations detailed to each Defendant when

   Plaintiff first became aware starting in April 2018, through Plaintiff’s plight to improve

   her credit and purchase a home, have gone recklessly uncorrected by Defendants.

          RESPONSE:             Innovis denies that it acted recklessly.      Innovis lacks

   knowledge or information sufficient to understand, or to form a belief about the truth of,

   the remaining allegations.




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           27.   In response to one of Plaintiff’s many attempts to correct the payment re-

   porting on all accounts, Navient admitted to the Plaintiff on October 11, 2019, an account

   which was stated to the Plaintiff’s, which was on Plaintiff’s consumer reports, was not

   hers.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           28.   The magnitude of the impact of this removed illegitimate account which is

   derogatory, which was improperly on the Plaintiff’s consumer credit report, adversely

   affected her credit score and creditworthiness, continues to adversely affect her score and

   worthiness; and to which the extent of its impact will forever remain unknown.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           29.   The amount of the removed illegitimate account, a loan, cannot be deter-

   mined because Plaintiff consolidated her student loans in August 2016 and Navient is

   void of bonafide method in making these material determinations.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

           30.   The amount of interest accrued upon the removed illegitimate account, a

   loan, cannot be determined because Plaintiff consolidated her student loans in August

   2016 and Navient is void of bonafide method in making these material determinations.

           RESPONSE:           Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

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          31.    Even after removing the illegitimate account, Navient has declined to re-

   duce the sum owed by the Plaintiff in principal or interest.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          32.    Therefore, Plaintiff is alleged by Navient to owe Navient this debt in viola-

   tion of multiple Federal and State laws; an unfair debt collection.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          33.    Plaintiff contacted Defendants Equifax, Experian, Trans Union, Innovis,

   and Navient, individually, in writing, to correct the Late Payments error. All have de-

   clined to do so.

          RESPONSE:             Innovis admits that a true and correct copy of the information

   Plaintiff inputted into the additional information field in Innovis.com to submit her De-

   cember 11, 2019 dispute is attached as Exhibit 4; that Innovis reinvestigated the dispute;

   and that a true and correct copy of Innovis’s December 28, 2019 response to Plaintiff is

   attached as Exhibit 2. Innovis denies the allegations in Paragraph 33 to the extent that

   they are inconsistent with Exhibits 2 and 4. Innovis lacks knowledge or information suf-

   ficient to form a belief about the truth of the remaining allegations.

                                     CAUSES OF ACTION

          34.    Unless otherwise noted, each Claim is against all Defendants. Plaintiffs [sic]

   re-alleges the preceding paragraphs set forth above and herein and incorporate them

   herein all Claims by reference inter alia:

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         RESPONSE:               Innovis admits that Plaintiff has incorporated the allegations

   in other paragraphs by reference. Innovis incorporates its responses to those paragraphs

   by reference.

         35.       Defendants held knowledge or should have known its duties under the

   FCRA. Any reasonable creditor, furnisher, or Consumer Reporting Agencies that utilizes

   consumer reports knows about or should know about; and can easily discover the federal

   mandates arising under the FCRA.

         RESPONSE:               Innovis admits that it knew its duties and obligations under

   the FCRA. Innovis lacks knowledge or information sufficient to form a belief about the

   truth of the remaining allegations.

         36.       Despite knowing of its legal obligations, Defendants acted recklessly and

   consciously in breaching its known duties; resulting depriving Plaintiff of her rights un-

   der the FCRA.

         RESPONSE:               Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

         37.       As a result of these FCRA violations, Defendants are each liable to Plaintiff

   for statutory damages from $100.00 to $1,000.00 pursuant to 15 U.S.C. §1681n(a)(1)(A),

   plus punitive damages pursuant to 15 U.S.C. §1681n(a)(2) for each of the violations al-

   leged herein, and for attorneys' fees and costs pursuant to §1681r [sic] and §1681o.




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          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          38.    Plaintiff believes violation calculations are as follows:

         1.     Each Navient Account: 18
         2.     Each incorrectly reported date: 4
         3.     Each day incorrect information has remained since notification: 533 (and
   counting)
         4.     Maximum statutory damages: $1,000
         Total = 18x4x533x1000 = $38,376,000

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

                                          CLAIM ONE:

                                      FCRA VIOLATIONS

                                             Navient

          39.    By and through the preceding paragraphs, Plaintiff has established she is a

   consumer with a consumer credit report as defined 15 U.S.C. § 1681a(c)-(d).

          RESPONSE:            Innovis admits that Plaintiff is a consumer as that term is de-

   fined at 15 U.S.C. § 1681a(c). Innovis lacks knowledge or information sufficient to form

   a belief about the truth of the remaining allegations.

          40.    As a student loan servicer, Navient routinely furnishes information about

   the Plaintiff’s federal student loan performance, as a borrower, on loans to one or more

   consumer reporting agencies for inclusion in a consumer report and is therefore a “fur-

   nisher” under Regulation V. 12 C.F.R. § 1022.41(c).


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          RESPONSE:              Innovis admits that Navient routinely furnished information

   about certain of Plaintiff’s student loan accounts to Innovis. Innovis lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations.

          41.     As a furnisher, Navient held duties under 15 U.S.C. § 1681s-2.

          RESPONSE:              Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          42.     Plaintiff disputed the accuracy of the Late Payments directly with Navient

   and directly with CRA’s named in this instant case, multiple times, triggering Navient’s

   compliance with 15 U.S.C. § 1681i.

          RESPONSE:              Innovis admits that a true and correct copy of the information

   Plaintiff inputted into the additional information field in Innovis.com to submit her De-

   cember 11, 2019 dispute is attached as Exhibit 4. Innovis lacks knowledge or information

   sufficient to form a belief about the truth of the remaining allegations.

          43.     The CRA’s disputed the accuracy of the Late Payments directly with Na-

   vient; Navient still failed to correct.

          RESPONSE:              Innovis admits only that on December 11, 2019, it provided

   Navient with a full and complete copy of Plaintiff’s December 11, 2019 dispute to Inno-

   vis.com; that Navient responded on December 27, 2019; and that a true and accurate copy

   of that response is attached as Exhibit 5. Innovis lacks knowledge or information suffi-

   cient to form a belief about the truth of the remaining allegations.




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          44.    As a Furnisher, Navient failed to “establish and implement reasonable writ-

   ten policies and procedures regarding the accuracy and integrity of the information re-

   lating to consumers [, the Plaintiff], that it furnishes to a consumer reporting agency;” 12

   C.F.R. § 1022.42(a), evidenced by the failure to properly report payments and correct

   overt errors upon notification within Plaintiff’s consumer credit reports.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          45.    Navient negligently and/or willfully violated the FCRA in the following

   ways: 1) failing to conduct a reasonable investigation into Plaintiff’s disputes regarding

   the impossible mathematical calculations in violation of 15 U.S.C. § 1681s-2(b); 2) failing

   through multiple disputes, over the course of a calendar year and a half, also in violation

   of 15 U.S.C. § 1681i; 3) with malice and/or recklessness, falsely reporting and publishing

   wholly false and inaccurate information about the Plaintiff.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          46.    Navient also failed to modify, delete, or permanently block the reporting of

   the disputed the Late Payments and the erroneous account as these were determined to

   be inaccurate, incomplete, and/or unverifiable, in violation of 15 U.S.C. § 1681s-2(b).

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.




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          47.    By and through 15 U.S.C. § 1681s-2(d), liability upon Navient is enforced

   by the consumer Plaintiff is conferred through § 1681s-2(b) therefore, is not excluded un-

   der 15 U.S.C. § 1681s-2(c).

          RESPONSE:              Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          48.    Navient is also considered users of consumer reports according to 15 U.S.C.

   § 1681m.

          RESPONSE:              Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          49.    Navient knew or should have known that its actions and omissions violated

   the FCRA, as the mathematical errors are blatantly egregious.

          RESPONSE:              Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          50.    The amount reported to CRA’s is incorrect and has negatively impacted the

   Plaintiff’s credit score credit worthiness by reporting an inflated incorrect amount, stating

   the Plaintiff owes more than she factually does.

          RESPONSE:              Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          51.    By and through the preceding paragraphs, Plaintiff seeks relief under 15

   U.S.C. §§ 1681n-o.




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          RESPONSE:             Innovis denies that Plaintiff is entitled to relief from Innovis.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          52.    Plaintiff has been damaged as alleged within this Complaint in an amount

   to be determined at trial.

          RESPONSE:             Innovis denies that it has caused Plaintiff to suffer damages.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          53.    Plaintiff is entitled to all statutory damages and costs.

          RESPONSE:             Innovis denies that it has caused Plaintiff to suffer damages

   and denies that Plaintiff is entitled to relief from Innovis. Innovis lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations.

                         Experian, Equifax, TransUnion, and Innovis

          54.    Experian, Equifax, TransUnion, and Innovis are Consumer Reporting

   Agencies (“CRA”) according to 15 U.S.C. § 1681a(f).

          RESPONSE:             Innovis admits only that it acted as a “consumer reporting

   agency,” as that term is defined at 15 U.S.C. § 1681a(f), with respect to Plaintiff’s May 8,

   2018 request for a consumer disclosure and Plaintiff’s December 11, 2019 dispute to In-

   novis.com. Innovis lacks knowledge or information sufficient to form a belief about the

   truth of the remaining allegations.




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          55.    After receiving notice of disputed information contained within Plaintiff’s

   consumer credit report, Experian, Equifax, TransUnion, and Innovis failed to place an

   indication of dispute by consumer upon the report, in violation of 15 U.S.C. § 168lc(f).

          RESPONSE:            The FCRA’s provision at 15 U.S.C. § 1681c(f) states that if Na-

   vient told the agencies, pursuant to 15 U.S.C. § 1681s-2(a)(3), that Plaintiff had submitted

   a dispute to Navient, then the agencies were in turn required to “indicate that fact in any

   consumer report that includes information related to the account.” Innovis denies that

   Navient ever informed Innovis, pursuant to 15 U.S.C. § 1681s-2(a)(3), that Plaintiff had

   submitted a dispute to Navient, and Innovis therefore denies that it violated 15 U.S.C. §

   1681c(f). Innovis lacks knowledge or information sufficient to form a belief about the

   truth of the remaining allegations.

          56.    As a Consumer Reporting Agencies, Experian, Equifax, TransUnion, and

   Innovis failed to “establish and maintain guidelines for furnishers regarding the accuracy

   and integrity of information,” in violation of 15 U.S.C. § 168li.

          RESPONSE:            Innovis denies that 15 U.S.C. § 1681i contains the quoted lan-

   guage or requirement. The FCRA’s provision at 15 U.S.C. § 1681s-2(e)(1)(A) requires the

   Consumer Financial Protection Bureau, a federal government agency, to “establish and

   maintain guidelines for use by each person that furnishes information to a consumer re-

   porting agency regarding the accuracy and integrity of information.” Innovis denies that

   this provision pertains to Innovis and therefore denies that Innovis violated it. Innovis

   lacks knowledge or information sufficient to form a belief about the truth of the remain-

   ing allegations.

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          57.    Experian, Equifax, TransUnion, and Innovis negligently and/or willfully

   violated the FCRA in the following ways: 1) failing to conduct a reasonable investigation

   into Plaintiff’s disputes regarding the impossible mathematical calculations in violation

   of 15 U.S.C. § 1681s-2(b); 2) failing through multiple disputes, over the course of a calen-

   dar year and a half, also in violation of 15 U.S.C. § 1681i; 3) with malice and/or reckless-

   ness, falsely reporting and publishing wholly false and inaccurate information about the

   Plaintiff.

          RESPONSE:             Innovis denies the allegations that are directed against it and

   states that, to the contrary, Exhibits 1-5 show that Innovis complied with the FCRA in

   every respect. Innovis expressly denies that 15 U.S.C. § 1681s-2(b) pertains to Innovis.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          58.    When given the opportunity, multiple times, Experian, Equifax, TransUn-

   ion, and Innovis failed to correct said error, in violation of Section § 1681s-2(a)(2). Failing

   to conduct reasonable re-investigation into Plaintiff’s disputes.

          RESPONSE:             Innovis denies the allegations that are directed against it and

   states that, to the contrary, Exhibits 1-5 show that Innovis complied with the FCRA in its

   response to Plaintiff’s one (1) dispute. Innovis expressly denies that 15 U.S.C. § 1681s-

   2(b) pertains to Innovis. Innovis lacks knowledge or information sufficient to form a be-

   lief about the truth of the remaining allegations.




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          59.    The named CRA’s negligently and willfully violated the FCRA in by:

          a.     failing to follow reasonable procedures to ensure maximum possible accu-

   racy of the information in Plaintiff’s consumer reports, in violation of 15 U.S.C. § 1681e(b),

          b.     failing to conduct a reasonable re-investigation into Plaintiff’s various dis-

   putes, in violation of 15 U.S.C. § 1681i.

          RESPONSE:             Innovis denies the allegations that are directed against it and

   states that, to the contrary, Exhibits 1-5 show that Innovis complied with the FCRA in

   every respect. Innovis expressly denies that 15 U.S.C. § 1681s-2(b) pertains to Innovis.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          60.    Named CRA’s knew or should have known that its actions and omissions

   violated the FCRA, as the mathematical errors are blatantly egregious.

          RESPONSE:             Innovis denies the allegations that are directed against it and

   states that, to the contrary, Exhibits 1-5 show that Innovis complied with the FCRA in

   every respect. Innovis lacks knowledge or information sufficient to form a belief about

   the truth of the remaining allegations.

          61.    By and through the preceding paragraphs, Plaintiff seeks relief under 15

   U.S.C. §§ 1681n-o.

          RESPONSE:             Innovis denies that Plaintiff is entitled to relief from Innovis.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.



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          62.      Plaintiff has been damaged as alleged within this Complaint in an amount

   to be determined at trial.

          RESPONSE:              Innovis denies that it has caused Plaintiff to suffer damages.

   Innovis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          63.      Plaintiff is entitled to all statutory damages and costs.

          RESPONSE:              Innovis denies that it has caused Plaintiff to suffer damages

   and denies that Plaintiff is entitled to relief from Innovis. Innovis lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations.

          64-74.          [OMITTED BY PLAINTIFF; see also ECF 59 at 5 (stating “Claim Two:

   Dismissed”).

                                     CLAIM THREE: Navient

                                             Conversion

          75-81.          Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.

                                      CLAIM FOUR: Navient

                                             Civil Theft

          82-89.          Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.




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                                     CLAIM FIVE: Navient

                                       Unjust Enrichment

          90-100.       Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.

                                      CLAIM SIX: Navient

                                       Breach of Contract

          101-105.      Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.

                                    CLAIM SEVEN: Navient

                                     Declaratory Judgment

          106-109.      Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.

                                         CLAIM EIGHT:

         Violations of the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-

                                      101 et seq. (“CCPA”)

          110.   Defendants conduct alleged in this Complaint and relating to its refusal or

   failure to correct errors on the Plaintiff’s consumer credit report violates the Colorado

   Consumer Protection Act because they (1) constitutes unfair and/or deceptive acts or

   practices; (2) are committed in the course of Defendants’ business; (3) have a pervasive

   public interest impact and have the potential to harm a substantial portion of the public;

   and (4) have caused injuries to the Plaintiff.




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          RESPONSE:             Innovis denies that it violated the CCPA.        Innovis lacks

   knowledge or information sufficient to form a belief about the truth of the remaining

   allegations.

          111.    Navient’s refusal to remove the debt from the Plaintiff’s account, including

   interest owed, is also considered (1) unfair and/or deceptive acts or practices; (2) are

   committed in the course of Defendants’ business; (3) have a pervasive public interest im-

   pact and have the potential to harm a substantial portion of the public; and (4) have

   caused injuries to the Plaintiff.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations, which are directed against Navient.

          112.    CRA’s violate the CCPA in by failing to correct the overtly obvious errors

   multiple times.

          RESPONSE:             Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          113.    Defendants’ violations of the CCPA were committed in bad faith, evident

   in their failure to correct multiple times.

          RESPONSE:             Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.




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          114.   Navient exhibits further deceptive behavior by failing to relinquish debt

   Navient itself has admitted was erroneously applied to the Plaintiff’s balance, earning

   interest like all other accounts.

          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations, which are directed against Navient.

          115.   Navient’s improper reporting payment reporting to credit bureaus is not

   only unfair and deceptive, and is a violation of the CCPA, FCRA, and FDCPA.

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          RESPONSE:             Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations, which are directed against Navient.

          116.   Plaintiff’s injuries were unavoidable as Defendants’ hold all the power and

   unilaterally control the information reported, the request to correct, and the ability to

   correct themselves. Plaintiff has suffered damages as a direct result of Defendant’s vio-

   lations of the CCPA.

          RESPONSE:             Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          117.   Defendants conduct violates the CCPA including and without limitation,

   C.R.S. § 6-1- 105(b), (c), and (h). In addition, a violation of article 20, C.R.S. § 5-20-112, is

   considered deceptive.




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          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          118.   Defendants failing to follow reasonable procedures to assure maximum

   possible accuracy of the information concerning the consumer Plaintiff, is a violation of

   C.R.S § 12-14.3-103.5. Defendants failures to comply with the reinvestigation require-

   ments set forth in C.R.S § 12-14.3-106, is a violation of the same.

          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          119.   Defendants are liable to Plaintiff in amount to be determined at trial, in-

   cluding statutory treble damages. Plaintiff respectfully requests this Court award them

   the following damages pursuant to Colo. Rev. Stat. § 6-1-113(2)(a). The greater of:

          i.     the amount of actual damages sustained; or
          ii.    five hundred dollars; or
          iii.   three times the amount of actual damages sustained.

          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          120.   Plaintiff respectfully requests that this Court award her fees, costs, and res-

   titution associated with this action pursuant to C.R.S. § 6-1-113(2)(b) and C.R.S. § 12-14.3-

   108. Also, enjoin Defendants from continued unlawful conduct alleged.



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          RESPONSE:             Innovis denies that Plaintiff is entitled to recover fees, costs,

   and restitution from Innovis. Innovis denies that Plaintiff is entitled to receive injunctive

   relief against Innovis. Innovis lacks knowledge or information sufficient to form a belief

   about the truth of the remaining allegations.

                                     CLAIM NINE: Navient

              Violations of Consumer Credit Code, Colo. Rev. Stat. § 5-1-101, et seq.

                                            (“UCCC”)

          121-128.        Innovis lacks knowledge or information sufficient to form a belief

   about the truth of these allegations, which are directed against Navient.

                                      CLAIM TEN: Navient

       Violations of the Colorado Uniform Commercial Code, Colo. Rev. Stat. § 4-1-

                                       301, et seq. (“UCC”)

   129-134.        Innovis lacks knowledge or information sufficient to form a belief about the

   truth of these allegations, which are directed against Navient.

                                    CLAIM ELEVEN: Navient

                                    Breach of Fiduciary Duty

   135-142.        Innovis lacks knowledge or information sufficient to form a belief about the

   truth of these allegations, which are directed against Navient.

                                        CLAIM TWELVE:

                                            Negligence

          143.     Defendants owe the Plaintiff a general duties [sic] to use reasonable care,

   act commercially responsible with regards not only to their own personal conduct, but


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   also to the Plaintiff’s consumer credit report and the information contained within said

   report.

             RESPONSE:           Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

             By way of further response, Innovis states that the FCRA pre-empts negligence

   claims against consumer reporting agencies. See 15 U.S.C. §§ 1681h(e); 1681t.

             144.   Defendants willfully, wantonly, and deliberately breached said duties in by

   failing to correct over errs [sic] given multiple opportunities; failing to remove interest

   and amount incurred for an account which was not Plaintiff’s; and failing to account for

   the funds within the account when asked.

             RESPONSE:           Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

             145.   Defendants’ negligence is displayed through the vast amount of oppor-

   tunity all have possessed to correct the overtly impossibly correct mathematical error in

   the payment history of Plaintiff’s Navient/Sallie Mae accounts; all since 2014.

             RESPONSE:           Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.




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          146.   The fact that the error is still present, Defendants have failed multiple duties

   outlined in multiple statutes. There was and continues to be foreseeable and likely inju-

   ries to the Plaintiff that far outweighs any alleged social utilities in Defendants’ conduct.

          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          147.   Defendants knew and/or reasonably expected the Plaintiff being adversely

   affected by the incorrect reporting and being paid to pay funds which she did not receive

   nor use.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          148.   The Plaintiff’s reliance upon the representations the Navient had the correct

   information was justified, as Plaintiff had been with Navient since 2001.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          149.   Plaintiff is void of any burden guarding against harm as all injuries should

   have never happened or been perpetrated against Plaintiff.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          150.   A finding of a violation of the CCPA also constitutes negligence.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

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          151.   The reliance upon said representations has caused Plaintiff’s actual dam-

   ages including but not limited to, loss of employment, housing, creditworthiness, in ad-

   dition to inter alia emotional distress, physical injuries, mental anguish including humil-

   iation and fear.

          RESPONSE:            Innovis lacks knowledge or information sufficient to form a

   belief about the truth of these allegations.

          152.   Plaintiff is entitled to damages proven through trial.

          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

          153.   Plaintiff is entitled to her reasonable fees and costs.

          RESPONSE:            Innovis denies the allegations that are directed against it. In-

   novis lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations.

                                      E. Prayers for Relief

          154.   Plaintiff re-alleges the preceding paragraphs set forth above and incorpo-

   rate them herein by reference. Plaintiff has suffered inter alia, severe emotional and men-

   tal distress as a result of the fraudulent behavior of the Defendants; all resulting in inter

   alia loss of life enjoyment, past and future pain and suffering, and an increased risk of

   harm. Past and future lost income, wages, and earnings.

          RESPONSE:            Innovis admits that Plaintiff has incorporated the allegations

   in other paragraphs by reference. Innovis incorporates its responses to those paragraphs

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   by reference. Innovis denies the allegation that Innovis caused Plaintiff distress and

   harm. Innovis lacks knowledge or information sufficient to form a belief about the truth

   of the allegation that other Defendants caused Plaintiff distress and harm.

                                       JURY DEMAND

         Innovis demands a trial by jury on all issues so triable.

                          INNOVIS’S AFFIRMATIVE DEFENSES

         I.      Plaintiff’s alleged damages were caused by, or contributed to by, Plaintiff’s

   own actions, or the actions of persons or entities other than Innovis, over whom Innovis

   had no control and for whom Innovis had no responsibility.

         II.     Innovis complied, in good faith, with the Fair Credit Reporting Act and all

   other relevant law.

         III.    Plaintiff has failed to mitigate damages.

         IV.     Plaintiff has failed to allege damages with specificity as required by law.

         V.      Plaintiff has failed to state a claim against Innovis for which relief may be

   granted.

         VI.     Plaintiff’s common law claims against Innovis are pre-empted by the Fair

   Credit Reporting Act, 15 U.S.C. §§ 1681h(e), 1681t.

         VII.    Plaintiff’s claims against Innovis are barred by the statute of limitations at

   15 U.S.C. § 1681p.

         VIII.   Innovis reserves its right to assert additional affirmative defenses at such

   time and to such extent as warranted by its ongoing discovery of the facts of this case.




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          IX.     Innovis reserves any and all rights that it has, under the due process clause

   of the United States Constitution, to challenge the quantum of and award of any punitive

   damages that may be sought or imposed against it.

                                      PRAYER FOR RELIEF

          WHEREFORE, Innovis respectfully prays that judgment be entered in favor of In-

   novis, and for such other and further relief as the Court deems right and just.

                                              /s/ Jason A. Spak
                                              Jason A. Spak
                                              FISHERBROYLES, LLP
                                              P.O. Box 5262
                                              Pittsburgh, PA 15206
                                              Telephone: (412) 401-2000
                                              Facsimile: (412) 774-2382
                                              Email: jason.spak@fisherbroyles.com


                                      CERTIFICATE OF SERVICE

          I hereby certify that on October 27, 2020, I filed a true and correct copy of the fore-

   going Answer and Affirmative Defenses with the Court’s Electronic Case Filing system,

   which will send a Notice of Electronic Filing to, and thereby effect service upon, all parties

   through their counsel of record.


                                              /s/ Jason A. Spak
                                              Jason A. Spak




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